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  18
  19                     UNITED STATES DISTRICT COURT
  20                            DISTRICT OF HAWAI‘I
  21
  22   JOSHUA SPRIESTERSBACH,                        Case No. 1:21-cv-00456-LEK-
  23                                                 RT
                           Plaintiff,
  24           vs.
                                                     PLAINTIFF’S MOTION
  25                                                 FOR PRELIMINARY
       STATE OF HAWAIʻI, CITY AND COUNTY
  26   OF HONOLULU, OFFICER ABRAHAM K.               INJUNCTION
  27   BRUHN, DEPARTMENT OF PUBLIC
       SAFETY, OFFICE OF THE PUBLIC                  Date: 1.14.22
  28   DEFENDER, NIETZSCHE LYNN TOLAN,

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   1   MICHELLE MURAOKA, LESLIE                              Time: 2:20 pm
       MALOIAN, JACQUELINE ESSER, JASON
   2   BAKER, MERLINDA GARMA, SETH
   3   PATEK, DR. JOHN COMPTON, DR.
       MELISSA VARGO, DR. SHARON TISZA,
   4   HAWAI‘I STATE HOSPITAL, DR. ALLISON
   5   GARRETT, and JOHN/JANE DOES 1-20,

   6                        Defendants.
   7
   8
   9                                      INTRODUCTION
  10         Plaintiff Joshua Spriestersbach was arrested and detained for nearly three
  11 years for crimes committed by another man, Thomas Castleberry. The main reason
  12 for this was because the Honolulu Police Department (“H.P.D.”) relied on and
  13 maintained false information connecting Mr. Spriestersbach to Mr. Castleberry’s
  14 crimes without any basis for doing so, and despite Mr. Spriestersbach’s continuous
  15 pleas that H.P.D. and the other Defendants had the wrong man. Plaintiff brings this
  16 motion for a preliminary injunction to ensure that Defendants finally correct the
  17 information, so he is not wrongfully arrested and incarcerated in the future.
  18         There is no dispute that Plaintiff is not Thomas Castleberry, that Plaintiff has
  19 no connection to Mr. Castleberry’s crimes, or that the warrant and criminal database
  20 information associating him with Thomas Castleberry is inaccurate and false.
  21 Nevertheless, H.P.D. has never corrected this information. A preliminary injunction
  22 is necessary in these circumstances.
  23         Each of the factors necessary for a preliminary injunction strongly favors one
  24 here. Initially, Plaintiff is likely to succeed on the merits. For example, it is well
  25 established that failing to take reasonable steps to ensure a person is not wrongfully
  26 arrested on another’s warrant violates due process. E.g. Fairley v. Luman, 281 F.3d
  27 913, 918 (9th Cir. 2002). Additionally, this case is very similar to the leading one
  28 establishing a Fourth Amendment violation for similar conduct. See Lee v. Gregory,

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   1 363 F.3d 931, 935 (9th Cir. 2004) (holding that knowingly causing a person’s arrest
   2 on a warrant meant for another violates the Fourth Amendment).
   3           Similarly, there is a likelihood Plaintiff will suffer irreparable injury absent
   4 injunctive relief. The false information that Plaintiff seeks to have removed is likely
   5 to cause his false arrest any time he interacts with an H.P.D. officer. Lastly, the
   6 balance of equities for the parties and public interest favors the injunction. Plaintiff
   7 has a significant liberty interest in not being falsely arrested or detained. The law
   8 heavily favors protecting Plaintiff’s civil rights. There is also no legitimate reason
   9 for the H.P.D. to maintain and rely on erroneous information of this kind in its
  10 databases and records.
  11           Plaintiff’s motion for a preliminary injunction should be granted, and
  12 Defendant City and County of Hawai‘i should be required to amend the warrant and
  13 database information falsely targeting Plaintiff for arrest for Thomas Castleberry’s
  14 crimes.
  15                                FACTUAL BACKGROUND
  16        A. Thomas Castleberry Commits Several Crimes in Hawaii and Elsewhere.
  17           A Bench Warrant Issues for His Arrest.
  18
               On July 16, 2006, Thomas Castleberry was arrested by H.P.D. officers for
  19
       crimes committed in Hawai‘i. At the time of those crimes, Plaintiff, Joshua
  20
       Spriestersbach was being treated in a mental health facility on Hawai‘i island.
  21
       Spriestersbach Decl. ¶ 4.
  22
             When he was arrested, Mr. Castleberry was fingerprinted and photographed, and
  23
       his mugshot taken by H.P.D. and entered into their criminal database. Once Mr.
  24
       Castleberry was transferred to Oahu Community Correctional Center (“O.C.C.C.”)
  25
       his identifying information was also entered into the O.C.C.C. database. In 2007,
  26
       Mr. Castleberry pleaded guilty to his crimes. He was placed on HOPE probation 1
  27
       1
  28       “Hawai‘i’s Opportunity Probation with Enforcement.”

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   1 and monitored until July of 2009, when he failed to appear in court and a bench
   2 warrant issued for his arrest. Gerhardstein Decl., A-1 (Docket State v. Thos
   3 Castleberry Case No. 1PC061001421) and A-2 (Castleberry Bench Warrant July
   4 2009 served May 2017). At some point that year Mr. Castleberry left Hawai‘i and
   5 moved to Arizona and was incarcerated there from 2011 to 2014. Gerhardstein Decl.
   6 A-3 (Castleberry Arizona Records Dec 2011-2014). He then moved to Alaska,
   7 where he was also incarcerated and has been in the custody of the Alaska
   8 Department of Corrections, with an expected release in 2022. Gerhardstein Decl., A-
   9 4, Castleberry Alaska Records.
  10      B. Plaintiff Joshua Spriestersbach is Arrested Three Times for
  11         Castleberry’s Warrant and Detained on the Warrant for Thirty-Two
  12         Months. Defendants Still Have Not Corrected the False Identification.
  13
          Plaintiff Joshua Spriestersbach is a fifty-year-old man with disabilities.
  14
       Spriestersbach Decl. ¶ 2. He lived seventeen of his last 19 years in Hawaii and was
  15
       occasionally unhoused during his time in Hawai‘i. Spriestersbach Decl. ¶¶ 3,5. The
  16
       only crimes with which he has been charged are those relating to his houselessness,
  17
       such as trespass and sitting or lying on sidewalks while houseless. Spriestersbach
  18
       Decl. ¶ 6.
  19
          On October 14, 2011, Plaintiff was houseless and sleeping on a stairwell.
  20
       Spriestersbach Decl. ¶ 7. An officer who arrested him requested his name. Joshua
  21
       only gave the last name “Castleberry,” as he sometimes goes by his grandfather’s
  22
       name, William C. Castleberry. He did not give a first name. Spriestersbach Decl. ¶
  23
       7. He was then arrested for the outstanding warrant of Thomas R. Castleberry even
  24
       though Joshua insisted that he was not Thomas R. Castleberry to the officers.
  25
       Spriestersbach Decl. ¶ 8; Gerhardstein Decl. A-5 (Spriestersbach first arrest on
  26
       Castleberry warrant 101411). Plaintiff has a different birthday from Thomas
  27
       Castleberry, a different social security number, looks different, is a different height
  28

                                                  4
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   1 and weight, and has different fingerprints from Thomas Castleberry. 2 The HPD
   2 could have easily verified that Plaintiff was not the Thomas Castleberry sought in
   3 the pending warrant.
   4       Plaintiff was ultimately never brought to court in 2011, though officers added his
   5 name “Joshua Spriestersbach” as the alias of Thomas Castleberry, and they failed to
   6 correct the erroneous addition.
   7       On January 17, 2015, Plaintiff was houseless and sleeping in Aala Park in the
   8 City and County of Honolulu. Spriestersbach Decl. ¶ 10. An officer arrested
   9 Plaintiff, and asked him his name. Spriestersbach Decl. ¶ 10. Plaintiff gave his
  10 name, Joshua Spriestersbach. Spriestersbach Decl. ¶10; Gerhardstein Decl. A-7
  11 (Spriestersbach second arrest on Castleberry warrant). Because H.P.D. officers did
  12 not correct their records in 2011, Joshua Spriestersbach was still an erroneous alias
  13 added for Thomas Castleberry. Plaintiff was taken in for booking. Spriestersbach
  14 Decl. ¶ 11. An officer ran his prints and identified him as Joshua Spriestersbach,
  15 (“Possible warrant under Castleberry, Thomas A#1077743. Checks via ID (Daisey)
  16 per ID prints under A#1077743 Castleberry, Thomas do not match Spriestersbach.”
  17 Gerhardstein Decl. A-7 (Bates Honolulu PD PRR 000043.) Because the officers
  18 noticed Plaintiff and Thomas Castleberry’s fingerprints did not match during the
  19 booking process, they released Plaintiff. Again, the information was not corrected.
  20
       2
  21     Thomas Castleberry is 6’3”, 230 lbs., and has hazel eyes. E.g. Gerhardstein Decl.
       A-3 (Castleberry Arizona records). Plaintiff is two inches shorter, fifty pounds
  22
       lighter, and has blue eyes. Gerhardstein Decl. A-8 (Spriestersbach third arrest on
  23   Castleberry warrant) and A-9 (Discharge Summary from Hawaii State Hospital at
       Bates page 000013) (“The Detective determined that the picture and fingerprints of
  24
       Thomas Castleberry do not match the picture and fingerprints of Joshua
  25   Spriestersbach.”). See also the dramatically different photos of Joshua
       Spriestersbach on the Hawaii eCrim website as of April 3, 2020 (Gerhardstein Decl.
  26
       A-6) and Thomas Castleberry from his time as an Arizona inmate 2011-2014.
  27   (Gerhardstein Decl. A-12 and A-13).
  28

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   1     On May 11, 2017, Plaintiff was houseless and waiting for food with others
   2 outside Safe Haven in Honolulu. Due to long lines and heat, Plaintiff fell asleep on
   3 the sidewalk. Spriestersbach Decl. ¶ 12. Plaintiff Spriestersbach was arrested for a
   4 third time on the 2009 Castleberry warrant. Gerhardstein Decl. A-8 (Spriestersbach
   5 third arrest on Castleberry warrant 051117). Plaintiff provided the officer his full
   6 name, Joshua Spriestersbach, his date of birth, and his social security number.
   7 Spriestersbach Decl. ¶ 12. The officer did not release Plaintiff. Spriestersbach Decl.
   8 ¶12. Joshua Spriestersbach’s name was handwritten on the face of the warrant
   9 issued for Thomas Castleberry, which had remained open for eight years.
  10 Gerhardstein Decl, A-2 (Castleberry bench warrant July 2009 served May 2017).
  11     Plaintiff was transported to the Department of Public Safety’s Oahu Community
  12 Correctional Center (“O.C.C.C.”). Spriestersbach Decl. ¶ 13. He was held at
  13 O.C.C.C. for four months, during which time he was never properly identified.
  14 Spriestersbach Decl. ¶ 13.
  15     Prior to his first court hearing, Plaintiff told the Deputy Public Defenders that he
  16 was not Thomas Castleberry, that he had not committed Castleberry’s crimes, and
  17 provided his identifying information. Spriestersbach Decl. ¶ 14. Instead of
  18 investigating the information, Plaintiff was taken to Hawai‘i State Hospital for a
  19 mental fitness evaluation. Spriestersbach Decl. ¶ 14. He was evaluated multiple
  20 times by doctors who had access to and were required to access his medical and
  21 legal records. They also did not verify his identity, though Plaintiff continually
  22 advised them and other hospital staff of his name and identity, and that he was not
  23 Thomas Castleberry. Spriestersbach Decl. ¶ 15; Gerhardstein Decl. A-9 (Hawaii
  24 State Hospital Discharge Summary).
  25     In January 2020, a physician verified that Plaintiff was not Thomas Castleberry.
  26 Plaintiff was given fifty cents, his identity documents, and a ride back to the
  27 homeless shelter where he had been arrested thirty-two months earlier.
  28 Spriestersbach Decl. ¶ 16; Gerhardstein Decl. A-9 (Hawaii State Hospital Discharge

                                                 6
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   1 Summary).
   2      The false information identifying Plaintiff as Thomas Castleberry has still not
   3 been corrected. A search on the eCrim database for Thomas Castleberry produces a
   4 record with Spriestersbach’s photo, height and weight and listing Thomas
   5 Castleberry as an alias. Gerhardstein Decl. A-10 . A search on the eCrim database
   6 for Joshua Spriestersbach produces the same photo as the one used for Castleberry
   7 with Spriestersbach’s height and weight. The entry for Spriestersbach also continues
   8 to list Thomas Castleberry as an alias. Gerhardstein Decl. A-11. Moreover, the
   9 photo employed for Spriestersbach in these records has been changed since Joshua
  10 was released from the Hawaii State Hospital in January 2020. Compare the eCrim
  11 photo downloaded on April 3, 2020 (Gerhardstein Decl. A-6) with the current eCrim
  12 photo (Gerhardstein Decl. A-11).
  13      To this day, Plaintiff has received nothing from Defendants indicating they have
  14 taken any step to correct the false alias and information in the H.P.D.’s database
  15 identifying him as Thomas Castleberry, or taken any other necessary step to ensure
  16 Plaintiff is not arrested for a fourth time.
  17                                  LEGAL STANDARD
  18         A preliminary injunction should issue where a plaintiff shows: “(1) a
  19 likelihood of success on the merits; (2), that the plaintiff will likely suffer
  20 irreparable harm in the absence of preliminary relief, (3) that the balance of equities
  21 tip in its favor, and (4) that the public interest favors an injunction.” Wells Fargo &
  22 Co. v. ABD Ins. & Fin. Servs., 758 F.3d 1069, 1071 (9th Cir. 2014).
             Alternatively, a preliminary injunction is necessary even where a plaintiff
  23
       cannot show a likelihood of success on the merits, but raises a “serious question” of
  24
       success on the merits where the balance of hardships tips sharply in his favor. Shell
  25
       Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1291 (9th Cir. 2013); All. For
  26
  27
  28

                                                    7
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   1 The Wild Rockies v. Cottrell, 632 F.3d 1127, 1131, 1135 (9th Cir. 2011). 3 This is
   2 because this Circuit adopts a “sliding scale” approach, such that the stronger one
   3 showing is, the less significant another need be to support a preliminary injunction.
   4 Cottrell, 632 F.3d at 1131. Given the preliminary nature of a preliminary injunction
   5 and fact that there has not been extensive factual development, evidence need not be
       admissible to support a preliminary injunction. See, e.g., Herb Reed Enters., LLC v.
   6
       Fla. Entm't Mgmt., 736 F.3d 1239, 1250 n.5 (9th Cir. 2013); Johnson v. Couturier,
   7
       572 F.3d 1067, 1083 (9th Cir. 2009).
   8
             As addressed below, Plaintiff is likely to prevail on the merits of his claims,
   9
       and the balance of hardships tips strongly in his favor. Moreover, there is no
  10
       legitimate reason for Defendants to refuse to correct their records. Indeed, each
  11
       factor strongly points in favor of granting the preliminary injunction here.
  12
  13                                       ARGUMENT
  14         I.     Plaintiff is Likely to Prevail With an Injunction Requiring
  15                Defendants to Fix False Identifiers Causing His Arrest.
  16      Plaintiff’s complaint requests injunctive relief, inter alia, removing Plaintiff’s
  17 identity from the warrant and criminal database falsely connecting him to Mr.
  18 Castleberry’s crimes. E.g. Dkt. 1 at 39. This information caused him to be falsely
  19 arrested three times in less than five years. Plaintiff seeks injunctive relief now so
  20 that he is not falsely arrested again. Plaintiff is highly likely to prevail on his claims.
  21    First, there is no basis for H.P.D. and Defendant City and County of Honolulu’s
  22 refusal to correct patently erroneous information causing Plaintiff to be arrested
  23 three times and exposing him to future wrongful arrests.
  24      There is an obvious and significant liberty interest in not being baselessly
       detained and arrested by the police on a warrant for someone else. Fairley v. Luman,
  25
  26
     3
       A “serious question” is one on which the movant “has a fair chance of success on
  27 the merits.” Sierra On-Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1421
  28 (9th Cir. 1984).

                                                  8
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   1 281 F.3d 913, 918 (9th Cir. 2002). Thus, a municipality’s refusal to institute readily
   2 available procedures to decrease the risk of a person’s erroneous arrest on a warrant
   3 targeting another violates due process. See, e.g., id.; Smith v. Cty. of L.A., No. CV
   4 11-10666 DDP (PJWx), 2015 U.S. Dist. LEXIS 187003, at *14 (C.D. Cal. Jan. 16,
   5 2015) (“The constitutional guarantee of due process does not tolerate a system that
       refuses to correct known errors, especially if those errors result in the repeated arrest
   6
       and detention of an innocent person.”). 4
   7
           Courts in this circuit thus unsurprisingly hold that municipalities that refuse to
   8
       correct knowingly erroneous warrants and databases targeting the wrong person for
   9
       arrest are liable for due process violations. See, e.g., Pierce v. Cty. of Marin, 291 F.
  10
       Supp. 3d 982, 994 (N.D. Cal. 2018) (finding Defendant County liable because it
  11
       “failed to take any correction after plaintiff was first falsely booked” and “continued
  12
       to maintain the incorrect warrant” despite knowledge that the information was
  13 incorrect); Smith, 2015 U.S. Dist. Lexis 187003 at *11 (refusal to update database to
  14 clarify that person incorrectly arrested was not the true target violates due process);
  15 Rogan v. Los Angeles, 668 F. Supp. 1384, 1395 (C.D. Cal. 1987) (holding
  16 municipality liable for due process violation when it would not amend crime
  17 database after it contributed to a false arrest).
  18       There is no question that the City and County of Honolulu and named and
  19 unnamed H.P.D. Officers know about these errors. Plaintiff filed this lawsuit against
  20 the City and County of Honolulu specifically demanding it and the necessary
  21 officers correct the warrant. Dkt. 1 at 3, 39. Even before that, this incident was
  22 publicized throughout the country. See, e.g., New York Post, Wrong Man Locked
  23 up Nearly 3 Years Due to Mistaken Identity (Aug. 4, 2021) available at:
  24 https://bit.ly/3mptIj2; The Washington Post, Officials Put the Wrong Man in a
  25   4
      Moreover, Defendant knows Plaintiff is not the proper target of the warrant.
  26 Causing Plaintiff to be arrested on a warrant known to be for another person also
     violates the Fourth Amendment. See, e.g., Lee v. Gregory, 363 F.3d 931, 935 (9th
  27 Cir. 2004).
  28

                                                   9
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   1 Mental Facility for 2 Years. When He Objected, they Called him “Delusional.”
   2 (Aug. 5, 2021), available at: https://wapo.st/3yORude; New York Times, Man Held
   3 for More Than 2 Years after Hawaii Arrest Over Mistaken Identity (Aug. 6, 2021),
   4 available at: https://nyti.ms/3yXomRe. Yet Defendants have still never corrected the
   5 warrant, consistent with the H.P.D.’s actions in 2011, in 2015, in 2017, and in 2020
       when Plaintiff was most recently released.
   6
   7
             II.    Plaintiff Will Likely Suffer Irreparable and Unnecessary Harm
   8
                    Absent a Preliminary Injunction.
   9
          The second consideration for a preliminary injunction is the likelihood of
  10
       irreparable harm. Shell Offshore, 709 F.3d at 1289. The harm here, being arrested or
  11
       detained again is irreparable. “It is well established that the deprivation of
  12
       constitutional rights ‘unquestionably constitutes irreparable injury.’” Index
  13 Newspapers LLC v. U.S. Marshals Serv., 977 F.3d 817, 837 (9th Cir. 2020) (citing
  14 Melandres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).
  15      Plaintiff is not presently in Hawaii but seeks an opportunity to return without fear
  16 of false arrest. Spriestersbach Decl. ¶ 18. The right to travel which Plaintiff seeks to
  17 exercise is protected by the constitution and directly infringed by defendants who
  18 have failed to correct false information which subjects Plaintiff to false arrest. See
  19 generally Crandall v. Nevada. 73 U.S. (6 Wall.) 35 (1867) and Edwards v.
  20 California, 314 U.S. 160 (1941) (addressing right to travel). The false information in
  21 Defendants’ records is likely to lead to his arrest every time an H.P.D. officer
                                                     5
  22 interacts with Plaintiff, as it has in the past. That alone also indicates a likelihood
  23 of irreparable injury. See, e.g., Index Newspapers LLC, 977 F.3d at 826 (finding fact
       that violation happened more than once is compelling evidence supporting a
  24
       preliminary injunction).
  25
  26
     5
       As an unhoused person, Plaintiff likely has more interactions than most with
  27 H.P.D. officers, who have sought to arrest him for poverty crimes such as falling
  28 asleep while waiting to be served food.

                                                  10
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   1         III.   The Balance of Equities and Public Interest Favor an Injunction.
   2     The last two considerations in granting or denying a preliminary injunction are
   3 whether the balance of equities tip in Plaintiff’s favor, and whether the public
   4 interest favors an injunction. Shell Offshore, Inc., 709 F.3d at 1289. “When the
   5 government is a party, these last two factors merge.” Drakes Bay Oyster Co. v.
     Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418,
   6
     435 (2009)). “‘[I]t is always in the public interest to prevent the violation of a
   7
     party’s constitutional rights.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.
   8
     2012) (quoting Sammartano v. First Judicial District Court, 303 F.3d 959 (9th Cir.
   9
     2002). Further, Plaintiff’s request adds no more burden on the Defendant City and
  10
     County of Honolulu than that already imposed by HRS §846 which establishes the
  11
     Hawaii Criminal Justice Data Center and authorizes the collection of criminal
  12
     justice data, including arrests and case dispositions. As a Criminal Justice Agency
  13 under that statute, the Defendant, pursuant to Haw. Rev. Stat. Ann. §846-6
  14 (LexisNexis 2021) has a duty minimize the storing of “inaccurate information.”
  15 Further that statute requires, “Any criminal justice agency which finds that it has
  16 reported inaccurate information of a material nature shall forthwith notify all
  17 criminal justice agencies known to have received such information.” Id.
  18     As addressed above Plaintiff has a significant liberty interest in not being
  19 baselessly arrested, or detained, again. There is no legitimate reason for Defendants
  20 to refuse to correct their records. Failing to do so serves no valid goal, and certainly
  21 none outweighing Plaintiff’s interests.
  22
  23                                     CONCLUSION
  24 For the reasons set forth above, Plaintiff respectfully requests that the Court order
  25 the City and County of Honolulu to correct the H.P.D.’s database and warrant by
  26 removing Plaintiff’s name as an alias for Thomas Castleberry, and removing any
  27 other information indicating Plaintiff is responsible for Thomas Castleberry’s crimes
  28 and to take any other action necessary to implement the order. A draft order is

                                                 11
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   1 attached.
   2 DATED: January 14, 2022                Respectfully submitted,
   3
                                             HAWAI‘I CIVIL RIGHTS PROJECT
   4
   5                                         By: /s/ Alphonse A. Gerhardstein
                                                  Jennifer L. Brown
   6                                              Alphonse A. Gerhardstein
   7                                              Jacqueline Greene
                                                  Paul Hoffman
   8                                              John Washington
   9
                                                    Attorneys for Plaintiff
  10                                                JOSHUA SPRIESTERSBACH
  11
  12
  13
                               CERTIFICATE OF SERVICE
  14
  15         I hereby certify that on January 14, 2022, a copy of the foregoing pleading
     was filed electronically. Notice of the filing will be sent to all parties for whom
  16 counsel has entered an appearance by operation of the Court’s electronic filing
     system. Parties may access this filing through the Court’s system. I further certify
  17
     that a copy of the foregoing pleading has been served by ordinary U.S. mail upon all
  18 parties for whom counsel has not yet entered an appearance electronically.
  19                                               s/ Alphonse A. Gerhardstein
  20                                               Attorney for Plaintiff
  21
  22
  23
  24
  25
  26
  27
  28

                                              12
